        Case 1:21-cv-00445-CJN Document 195-2 Filed 10/05/23 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                             )
US DOMINION, INC., DOMINION                  )
VOTING SYSTEMS, INC., and                    )
DOMINION VOTING SYSTEMS                      )
CORPORATION                                  )
c/o Cogency Global                           )
1025 Vermont Ave., NW, Suite 1130            )
Washington, DC 20005,                        )
                                             )
               Plaintiffs,                   )               Case No. 1:21-cv-00445-CJN
                                             )                   Judge Carl J. Nichols
       v.                                    )
                                             )
MY PILLOW, INC. and                          )
MICHAEL J. LINDELL                           )
343 E 82nd Street #102                       )
Chaska, MN 55318,                            )
                                             )
               Defendants.                   )
                                             )


DECLARATION OF ANDREW D. PARKER SUBMITTED IN SUPPORT OF MOTION
      TO WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANTS

I, Andrew D. Parker, being first duly sworn, state as follows:

       1.      I am an attorney with the law firm of Parker Daniels Kibort LLC (“PDK”). I am

also an owner and named partner of PDK. I have personal knowledge of the dates, events, and

facts stated below.

       2.      In March 2021, PDK was retained by Defendant My Pillow, Inc. to defend it against

allegations of defamation in the above-captioned case.

       3.      In February 2022, PDK was retained by My Pillow to defend it in Smartmatic USA

Corp., et al. v. Lindell, et al., No. 22-cv-00098-WMW-JFD, venued in the District of Minnesota

(“Smartmatic”).

                                                 1
        Case 1:21-cv-00445-CJN Document 195-2 Filed 10/05/23 Page 2 of 5




       4.      PDK was subsequently retained by Defendant Michael Lindell to defend him in the

above-captioned matter and the Smartmatic matter.

       5.      PDK was also retained to represent both Defendants, along with FrankSpeech LLC,

in Coomer v. Lindell, et al., No. 1:22-cv-01129-NYW-SKC, venued in the District of Colorado

(“Coomer”).

       6.      Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion

Voting Systems Corporation have claimed over $1 billion in damages against Defendants in this

matter. The plaintiffs in the US Dominion, Inc., et al. case are also claiming over $1 billion in

damages against Defendants.

       7.      The above-captioned matter along with Smartmatic and Coomer will be

collectively referred to as the “Litigations.”

       8.      Since the date of PDK’s retention, we have diligently and aggressively defended

Defendants in the Litigations.

       9.      PDK’s work on behalf of Defendants in the Litigations has included the following:

               a. collecting and producing hundreds of thousands of pages of documents using

                   the services of various contractors, including ESI discovery platforms;

               b. receiving production of millions of pages of documents from the various

                   plaintiffs and from non-parties, incurring costs associated with hosting the

                   documents on litigation management software platforms, and paying contract

                   document reviewers as well as its own attorneys to review the documents;

               c. extensive motion practice;

               d. defending many hours of depositions for Defendants and taking many hours of

                   deposition testimony of opposing parties and non-parties;



                                                 2
        Case 1:21-cv-00445-CJN Document 195-2 Filed 10/05/23 Page 3 of 5




               e. retaining and working with experts to obtain important information about the

                   issues in the Litigations and to obtain expert reports in support of the

                   Defendants’ defenses;

               f. communication with opposing counsel and non-party witnesses;

               g. factual investigation and legal research regarding the issues in the litigation;

                   and

               h. many other litigation administration tasks and obligations.

       10.     For the work PDK has completed on behalf of Defendants in the Litigations to this

point, Defendants have incurred millions of dollars in fees and costs.

       11.     Defendants regularly paid PDK in a timely manner the amounts owed for

representation in the above-captioned case, through April 2023. Defendants’ payments for the May

2023 invoice were delayed a longer time. After that, Defendants made only partial payments.

       12.     No payment has been made for PDK’s July 2023 and August 2023 invoices in the

above-captioned case. A similar situation exists in the Smartmatic and Coomer cases.

       13.     PDK has worked with Defendants over the past few months in hopes that

Defendants would find a way to secure the financing to pay their debts to PDK and pay for PDK’s

continued representation.

       14.     Beginning in August 2023 and again in September 2023, PDK warned Defendants

that if they did not pay the outstanding invoices and continue to pay new invoices as they came

due, PDK would have to withdraw its representation of Defendants. In August 2023 Defendants

paid the May 2023 invoice, and in September 2023 Defendants made only two partial payments

toward the June 2023 invoice.




                                                 3
        Case 1:21-cv-00445-CJN Document 195-2 Filed 10/05/23 Page 4 of 5




       15.     During the week of September 25, 2023, PDK engaged in further discussions with

Defendants concerning the debt. PDK again warned Defendants that PDK would have to withdraw

its representation if the outstanding invoices were not paid. On October 2, 2023, PDK was

informed by Defendants that they are not able to get caught up with or make any payment on the

large amount they owe in arrears nor pay for anywhere near the estimated expense of continuing

to defend against the lawsuits going forward, including either the legal fees or litigation costs.

       16.     At this time, Defendants are in arrears millions of dollars to PDK.

       17.     PDK is a small, 16-attorney litigation law firm in Minneapolis, MN.

       18.     PDK cannot afford to carry this large of a debt nor to finance Defendants’ defense

in the Litigations going forward.

       19.     If forced to continue its representation, PDK would be required to fund all

personnel and payroll costs, as well as the costs and fees associated with dispositive and

nondispositive motions; anticipated depositions noticed by both the Plaintiffs and Defendants;

document review of millions of documents, including the hosting of those documents on litigation

management software; and the preparation and submission of expert reports as well as additional

expert discovery, such as depositions.

       20.     These future fees and costs will amount to millions of dollars in addition to the

millions of dollars already owed.

       21.     Forcing PDK to continue funding Defendants’ defense in the above-captioned

matter through the conclusion of this billion-dollar litigation would place PDK in serious financial

risk and could threaten the very existence of the firm.

       22.     Defendants have been made fully aware of this filing by PDK. Defendants have

been advised to obtain other counsel. To the best of my knowledge and belief, Defendants are in



                                                  4
        Case 1:21-cv-00445-CJN Document 195-2 Filed 10/05/23 Page 5 of 5




the process of obtaining new counsel. Defendant Michael J. Lindell has been advised that if he

intends to proceed pro se he should notify the clerk of court within seven days.

       23.     Defendants have indicated that they understand PDK’s position, do not object, and

are in the process of finding new counsel.

       24.     Nathan Lewin and his law firm, Lewin & Lewin, LLP, were asked by me to assist

with the representation of My Pillow, Inc. as part of the PDK team, and his representation of My

Pillow, Inc. has been contingent upon PDK’s representation from the beginning of the matter. Mr.

Lewin has informed me that he desires to withdraw his representation of My Pillow, Inc. at the

same time PDK withdraws its representation of the Defendants, and that My Pillow, Inc. owes

money to Lewin & Lewin, LLP as well.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 5, 2023 in Hennepin County, Minnesota.

                                                             /s/ Andrew D. Parker
                                                             Andrew D. Parker




                                                 5
